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Exhibit A
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UNITED STATES DISTRICT COURT
FOR THE

DISTRICT OF MASSACHUSETTS

SONYA LARSON

Plaintiff, Civil Action No.
Vv.
1:19-cv-10203-IT
DAWN DORLAND PERRY, et al.

Defendants.

DAWN DORLAND PERRY’S RESPONSE TO INTERROGATORIES PROPOUNDED
BY THE PLAINTIFF, DEFENDANT IN COUNTERCLAIM, SONYA LARSON

Dawn Dorland Perry (“Dorland’’) provides the following responses to the below
Interrogatories served on her by Plaintiff / Defendant-in-Counterclaim, Sonya Larson, as

follows:

Interrogatory No. 1

In Paragraph | of your Counterclaim, you allege that you are an author, editor and writing
educator. Please describe in as much detail as possible, the factual basis for the allegation that
you are an author by identifying as part of your answer to this interrogatory all articles, stories,
books, essays and other writings you have written from 2015 to date that have been produced,
printed, distributed and/or published by you and/or by third-parties either in print and/or
electronically; in addition, please describe in as much detail as possible, the factual basis for the
allegation that you are an editor by identifying all articles, stories, books, essays and other
writings you have edited from 2015 to date, identifying for whom you edited said articles,
stories, books, essays and other writings, when you edited said articles, stories, books, essays and
other writings, for what purpose or purposes said articles, stories, books, essays and other
writings were edited, and state whether any of said articles, stories, books, essays and other
writings were ever produced, printed, distributed and/or published by third-parties or self-
published either in print and electronically, and state where and when they were produced,
printed, distributed and/or published; and please describe the factual basis for your claim that
you are a writing educator by stating when and where you have taught any writing classes from
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2015 to date, and identify as part of your answer to this interrogatory, where you taught said
classes, how many students were in your classes, how much you were paid for teaching said
classes and identify by whom you were paid.

RESPONSE TO INTERROGATORY NO. 1:

Ms. Dorland objects to Interrogatory No. | on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence. Ms.
Dorland further objects to Interrogatory No. | in that it seeks information which is wholly
irrelevant to the claims and defenses in this matter. Ms. Dorland further objects to Interrogatory
No. | on the grounds that it is vague and ambiguous. Ms. Dorland objects to Interrogatory No. 1
on the grounds that while it purports to be a single interrogatory with no subparts, it is actually
three interrogatories contained under the header “Interrogatory No. 1”. Based on the foregoing
objections, Ms. Dorland cannot respond to Interrogatory No. 1.

Interrogatory No. 2

Other than posting the Dorland Letter on your Facebook group, please state what you
have done with the Dorland Letter from 2015 to date. In answering this interrogatory, please
identify any and all articles, stories, books, essays and other things you have written from 2015
to date that include or reference the Dorland Letter and/or any part of the Dorland Letter in any
way, and state whether any of said articles, stories, books, essays and other things that you have
written were produced, printed, distributed and/or published either by you (self-published) or by
third-parties, stating whether they were produced in print and/or electronically.

RESPONSE TO INTERROGATORY NO. 2:

Ms. Dorland objects to Interrogatory No. 2 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence. Ms.
Dorland further objects to Interrogatory No. 2 on the grounds that it is vague and ambiguous.
Ms. Dorland objects to Interrogatory No. 2 on the grounds that while it purports to be a single

interrogatory with no subparts, it is actually two interrogatories contained under the header
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“Interrogatory No. 2”. Notwithstanding and without waiving the foregoing objections, Ms.
Dorland responds to Interrogatory No. 2 as follows:

Prior to posting the Dorland Letter in my private Facebook group, I sent the letter to
administrators at the University of California who were involved with my kidney donation, for
purposes of them sending it to the intended recipient while maintaining confidentiality
concerning that person’s identity, personal information, and protected health information. Those
documents were produced in connection with the requests for production in this matter.

Interrogatory No. 3

Please identify all persons who were members of your Facebook Group at any time from
2015 to date. As part of your answer to this interrogatory, please state whether the persons who
are identified in your answer were friends or family at the time they became members, and state
how, and for how long you knew said persons when they were admitted to the Group, and state
when and how they were invited to join the Group, and how and when they were invited.

RESPONSE TO INTERROGATORY NO. 3:

Ms. Dorland objects to Interrogatory No. 3 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence. Ms.
Dorland further objects to Interrogatory No. 3 on the grounds that it is vague and ambiguous.
Ms. Dorland objects to Interrogatory No. 3 on the grounds that while it purports to be a single
interrogatory with no subparts, it is actually four intettawatiries contained under the header
“Interrogatory No. 3”. Ms. Dorland further objects to Interrogatory No. 3 on the grounds that it
seeks the disclosure of individuals who are not relevant to this litigation, and who joined a
“private” and “secret” Facebook group, with no expectation that they would be revealed in
public litigation. Where Ms. Dorland did not at any time address Ms. Larson, “The Kindest” or
Ms. Larson’s appropriation of Ms. Dorland’s letter in her Facebook group, the identity of the

members is not relevant, and Ms. Dorland will not divulge their names. Notwithstanding and
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without waiving the foregoing objections, Ms. Dorland responds to Interrogatory No. 3 as
follows:

I began my private and secret Facebook group in April of 2015, prior to my kidney
donation, after I was medically cleared to proceed with the donation. I do not have a memory of
all persons invited or the dates they were invited, nor do I have records concerning those actions.
As I recall, I initially invited approximately six (6) friends and family members at the time that I
created the group. I do not recall every person that I invited at that time, and I do not have
records in my possession, custody or control that allows me to retrieve that information. In May
and early June of 2015, I began adding more of my close friends and family, and my memory is
that it was approximately one dozen additional people during that time period. For some of these
people, I had conversations prior to adding them, and with others, such as Ms. Larson and my
close writing mentors, I invited them to read the information contained within the group page, to
determine whether they wished to be included. As I recall, by the time of my surgery on June
24, 2015, there were between 30 and 36 people in the group.

Following the surgery, but before I went public about my donation (in August of 2015), I
added more friends and some acquaintances. During this period, the group grew to as many as
80 people. However, at that point, and before I went public, I reached out to some of the less
active members of my group to ask if they would mind if I removed them from the group. I did
this because I was concerned for my recipient’s privacy, and because my intent had always been
for this group to be one for my inner circle where I could speak on a more intimate level about
my journey. Since I intended to share the more general information publicly beginning in
August of 2015, I was working to reorient the private and secret group to be just that — private

and secret — which would also be a place appropriate to share personal information, including
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medical details. Ms. Larson was one of the people who I contacted about leaving the group, due
ie her inactivity. She was also the only person who did not respond with her consent to be
removed, and she was therefore the only one of that subset of people who remained in the group
after August of 2015.

.I do not have records, nor have I been able to obtain any through the private and secret
srotip: concerning the members’ admission and departure dates. There are currently 69 members
in the group, which remains private and secret.

Interrogatory No. 4

Please identify all persons who were invited or asked by you to become members of your
Facebook Group at any time, but declined to join for any reason, stating the reason or reasons, if
you know the reason(s). As part of your answer to this interrogatory, please state whether the
persons who are identified herein were friends or relatives at the time they were asked or invited
to join the Facebook Group, and state for how long you knew these persons when they were
asked or invited to join your Group.

RESPONSE TO INTERROGATORY NO. 4:

Ms. Dorland objects to Interrogatory No. 4 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. There is no relationship between the information
sought by this interrogatory and the claims and defenses in this matter, nor to any of the factual
allegations in the operative complaint or counterclaim. Ms. Dorland further objects to
Interrogatory No. 4 on the grounds that it is vague and ambiguous. Ms. Dorland objects to
Interrogatory No. 4 on the grounds that while it purports to be a single interrogatory with no
subparts, it is actually three interrogatories contained under the header “Interrogatory No. 4”.

Based on the foregoing, Ms. Dorland will not respond to Interrogatory No. 4.
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Interrogatory No. 5

Exhibit A to your Answer to Second Amended Complaint and Restated Counterclaim
(Dkt. No. 96), says in part, “I’m happy to share a letter here that I composed to our Portland
recipient (the woman who received my recipient’s wife’s kidney), which got shared widely
around the UCLA transplant team:” Please state why the letter was shared widely around the
UCLA Campus, how widely the letter was shared, how and when it was shared, who shared it,
and identify with whom the letter was shared.

RESPONSE TO INTERROGATORY NO. 5:

Ms. Dorland objects to Interrogatory No. 5 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No. 5
on the grounds that it is vague and ambiguous. Ms. Dorland objects to Interrogatory No. 5 on
the grounds that while it purports to be a single interrogatory with no subparts, it is actually three
interrogatories contained under the header “Interrogatory No. 5”. Notwithstanding and without
waiving the foregoing, Ms. Dorland responds as follows:

As set forth in my response to Interrogatory No. 2, I shared the letter that I wrote with an
administrator at the University of California at Los Angeles, Suzanne McGuire, for purposes of
sending the letter to the recipient of a kidney in the kidney donation chain in which I
participated. See Bates No. DORLAND00116-17. I was later informed by Ms. Suzanne
McGuire that she had shared my letter with others on UCLA transplant team. She did not
identify by name which individuals she shared it with. I heard from one member of the team,
Tonya Frazier, who contacted me after she read my letter. I am producing that email in
connection with this response. The transplant team consisted of approximately a dozen

individuals, including surgeons, nurses and administrators.
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Interrogatory No. 6

With reference to Paragraphs 9 through 14 of your Counterclaim, please state the factual
basis for your contention that you and Larson were friendly with each other in 2008 and 2009,
and later began to develop a true friendship with each other in 2010 and 2011, by stating in as
much detail as possible what your friendship consisted of. For example, at any time between
2008 and 2011, did you and Larson have any meals together (breakfast, lunch and/or dinner) or
go out for coffee or have wine or cocktails together, or talk with each other on the telephone, go
on walks, or do activities with one another outside of a work environment? If your answer to
this example is in the affirmative in any way, please state what activities you shared together,
how often, when and where you and Larson had meals together, or went for coffee or shared
wine or cocktails together, or talked with each other on the telephone, went for walks, or did
activities with one another outside of a work environment, and identify who else was present on
each occasion, where each event occurred, and summarize in as much detail as possible what you
and Larson talked about.

RESPONSE TO INTERROGATORY NO. 6:

Ms. Dorland objects to Interrogatory No. 6 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No. 6
in that it seeks information which is wholly irrelevant to the claims and defenses in this matter.
Ms. Dorland further objects to Interrogatory No. 6 on the grounds that it is vague and
ambiguous. Ms. Dorland objects to Interrogatory No. 6 on the grounds that while it purports to
be a single interrogatory with no subparts, it is actually six interrogatories contained under the
header “Interrogatory No. 6”. Based on the foregoing objections, Ms. Dorland will not respond
to Interrogatory No. 6.

Interrogatory No. 7

Please state when and how often you and Larson were guests in each other’s homes and
identify all other guests who were present at the same time, including their spouses, significant
others, dates or companions.
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RESPONSE TO INTERROGATORY NO. 7:

Ms. Dorland objects to Interrogatory No. 7 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No. 7
in that it seeks information which is wholly irrelevant to the remaining claims and defenses in
this matter. Ms. Dorland further objects to Interrogatory No. 7 on the grounds that it is vague
and ambiguous. Ms. Dorland objects to Interrogatory No. 7 on the grounds that while it purports
to be a single interrogatory with no subparts, it is actually two interrogatories contained under the
header “Interrogatory No. 7”. Based on the foregoing objections, Ms. Dorland will not respond

to Interrogatory No. 7.

Interrogatory No. 8

With reference to Paragraph 19 of your Counterclaim, you claim that just prior to the
time you moved to Washington, D.C. to attend a full-time MFA program, Larson attended a
farewell dinner hosted by you and your spouse at your Jamaica Plain apartment. Please identify
who was invited to attend the dinner, who attended the dinner, how many people were in
attendance, and describe the “thoughtful and personal going away gift” that Larson gave to you,
and state whether or not you still have the gift, and if not, what happened to it.

RESPONSE TO INTERROGATORY NO. 8:

Ms. Dorland objects to Interrogatory No. 8 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No. 8
in that it seeks information which is wholly irrelevant to the remaining claims and defenses in
this matter. Ms. Dorland further objects to Interrogatory No. 8 on the grounds that it is vague
and aabioaeue. Ms. Dorland objects to Interrogatory No. 8 on the grounds that while it purports
to be a single interrogatory with no subparts, it is actually five interrogatories contained under

the header “Interrogatory No. 8”. As a result, at least a portion of Interrogatory No. 8 exceeds
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the number of interrogatories permitted by the Federal Rules of Civil Procedure. Based on the
foregoing objections, Ms. Dorland will not respond to Interrogatory No. 8.

Interrogatory No. 9

In Paragraph 20 of your Counterclaim, you state that you and Larson stayed in touch.
Please state when, how and how often you and Larson stayed in touch with each other, and
summarize in as much detail as possible what you and she talked or communicated about. As
part of your answer to this interrogatory, please state if any of the communications or contacts
between you and Larson during this time were related to GrubStreet of any of its programs or
activities. Also, please state when, where, how often and under what circumstances you and
Larson reconnected with each other at writing conferences during this time.

RESPONSE TO INTERROGATORY NO. 9:

Ms. Dorland objects to Interrogatory No. 9 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No. 9
in that it seeks information which is wholly irrelevant to the remaining claims and defenses in
this matter. Ms. Dorland further objects to Interrogatory No. 9 on the grounds that it is vague
and ambiguous. Ms. Dorland objects to Interrogatory No. 9 on the grounds that while it purports
to be a single interrogatory with no subparts, it is actually six interrogatories contained under the
header “Interrogatory No. 9”. As a result, Interrogatory No. 9 exceeds the number of
interrogatories permitted by the Federal Rules of Civil Procedure. Based on the foregoing
objections, Ms. Dorland will not respond to Interrogatory No. 9.

Interrogatory No. 10

You alleged in Paragraph 21 of your Counterclaim that from 2014 through 2017, Ms.
Larson “invited” you to Boston to participate in GrubStreet’s Muse & The Marketplace writing
conference as an instructor. Please describe all invitations you received and state when you
received them, state how you received them, and from whom you received them. Were any of
these invitations addressed to you personally or were they group invitations that were part of
Larson’s duties and responsibilities as an employee of GrubStreet and director of the Muse & the
Marketplace conferences.
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RESPONSE TO INTERROGATORY NO. 10:

Ms. Dorland objects to Interrogatory No. 10 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
10 in that it seeks information which is wholly irrelevant to the claims and defenses in this
matter. Ms. Dorland further objects to Interrogatory No. 10 on the grounds that it is vague and
ambiguous. Ms. Dorland objects to Interrogatory No. 10 on the grounds that while it purports to
be a single interrogatory with no subparts, it is actually five interrogatories contained under the
header “Interrogatory No. 10”. Asa result, Interrogatory No. 10 exceeds the number of
interrogatories permitted by the Federal Rules of Civil Procedure. Based on the foregoing
objections, Ms. Dorland will not respond to Interrogatory No. 10.

Interrogatory No. 11

Please state where, when, how and under what circumstances you first heard, read and/or
used the phrase “trails no strings” as you state in Paragraph 114 of your Counterclaim. As part
of your answer to this interrogatory, please state what you mean by this phase.

RESPONSE TO INTERROGATORY NO. 11:

Ms. Dorland objects to Interrogatory No. 11 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
11 on the grounds that it is vague and ambiguous. Ms. Dorland objects to Interrogatory No. 11
on the grounds that while it purports to be a single interrogatory with no subparts, it is actually
two interrogatories contained under the header “Interrogatory No. 11”. As a result, Interrogatory
No. 10 exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.

Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

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I crafted the phrase “trails no strings” while drafting the Dorland Letter. To my
knowledge, I had never heard, read or used the phrase prior to that time. The phrase speaks for
itself as to its meaning.

Interrogatory No. 12

In Paragraph 138 of your Counterclaim, you state that in June 2018, you learned that the
BBF selected Larson’s story as the winner of the One Story/One City competition. Please state
how, when and from whom you learned this information?

RESPONSE TO INTERROGATORY NO. 12:

Ms. Dorland objects to Interrogatory No. 12 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
11 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the Interrogatories contained above,
Interrogatory No. 12 exceeds the number of interrogatories permitted by the Federal Rules of
Civil Procedure. Notwithstanding and without waiving the foregoing, Ms. Dorland responds as
follows:

I learned that Larson had been selected as the One City/One Story featured author when I
visited her biographical page on her website, larsonya.com. I took a screen grab at that time,
which I am producing in connection with this response. This took place on or about June 6,
2018. I was initially worried that the selected story was “The Kindest,” meaning that my letter
would be published by Larson yet again, as was later confirmed. I do not recall the exact date
that it was confirmed.

Interrogatory No. 13

In Paragraph 139 of your Counterclaim, you state that you contacted the BBF to inform
the organization that The Kindest used your unauthorized copyrighted material. Please state how

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and when you first contacted the BBF, identify who you contacted, describe what you
communicated and state whether this contact was made before or after your legal counsel
contacted the BBF.

RESPONSE TO INTERROGATORY NO. 13:

Ms. Dorland objects to Interrogatory No. 13 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
13 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 13
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

My written contact with the Boston Book Festival has been produced in connection with
the Request for Production of Documents served on me in this matter. See DORLAND00005.
That document is incorporated herein by reference, as permitted by Rule 33 of the Federal Rules
of Civil Procedure. In addition to the email communications that I had with the BBF, I personally
called the BBF on or about June 6, 2018, after I discovered through Ms. Larson’s webpage that
Ms. Larson had been selected as the featured One City/One Story author, and I spoke with
Raquel Hitt. I sought confirmation from Ms. Hitt that “The Kindest” had, in fact, been selected.
Ms. Hitt stated that she could not confirm and asked me where I received the information
concerning Ms. Larson’s selection. She then asked me to follow up via email, which I did. That
email was produced in 2020 in connection with the prior request for production in this matter.

Interrogatory No. 14

In Paragraph 140 of your Counterclaim, you state that you attempted in good faith to
negotiate with both the BBF and Larson, through counsel to reach mutually agreeable terms.
Please summarize in as much detail as possible each offer, counteroffer and/or response to any
offers or counteroffers that you, Larson and/or the BBF, or their respective legal counsel made to

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each other in an attempt to reach mutually agreeable terms to resolve your claims of plagiarism
and/or copyright infringement against Larson and/or the BBF. As part of your answer to this
interrogatory, please include the dates, times and manner of each offer, counteroffer and/or
response to an offer or counteroffer that was made or received by you or your legal counsel.
Also state the terms of the last offer or counteroffer that you or your legal counsel made to the
BBF, Larson or their respective legal counsel in an attempt to reach an agreement.

RESPONSE TO INTERROGATORY NO. 14:

Ms. Dorland objects to Interrogatory No. 14 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
14 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 14
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure. Ms.
Dorland further objects to Interrogatory No. 14 to the extent it seeks information protected by the
attorney-client privilege or the work product doctrine. Notwithstanding and without waiving the
foregoing, Ms. Dorland responds as follows:

My attorney, Jeffrey A. Cohen of the Cohen Business Law Group, a defendant in this
matter, conducted negotiations on my behalf. Attorney Cohen has produced the documents in
this matter that constitute his communications with the BBF on my behalf. See Exhibits A and B
to Cohen’s Response to Request for Productions. I incorporate those documents herein as
permitted by Rule 33 of the Federal Rules of Civil Procedure. I was not present on any phone
calls that Attorney Cohen, or his employees, participated in on my behalf, and I do not have first
hand knowledge concerning what transpired on those calls.

Interrogatory No. 15

Please state in as much detail as possible, in what way or ways you believe the final BBF
version of The Kindest infringes the Dorland Letter.

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RESPONSE TO INTERROGATORY NO. 15:

Ms. Dorland objects to Interrogatory No. 15 on the grounds that it does not seek facts, but
rather a legal opinion and legal analysis, which Ms. Dorland is not able to provide as a layperson,
a party and a fact witness. Ms. Dorland further objects to Interrogatory No. 15 on the grounds
that it seeks the divulgence of attorney work product and attorney-client privileged
communications. Ms. Dorland further objects to Interrogatory No. 15 on the grounds that it is
vague and ambiguous. Ms. Dorland finally objects to Interrogatory No. 15 on the grounds that,
based on the significant unnumbered subparts contained in the interrogatories above, the number
of interrogatories herein vastly exceeds the limits set forth in Rule 33 of the Federal Rules of
Civil Procedure. Based on the foregoing, Ms. Dorland will not respond to Interrogatory No. 15.

Interrogatory No. 16

From 2018 to date, please identify all newspaper, magazine and/or broadcast news
mediums as well as blogs, social media platforms, websites and third party publications of any
kind (hereinafter collectively, “media outlets”) with which you had any contact relative to Larson
winning the One City/One Story competition sponsored by the BBF, and/or your claim that
Larson plagiarized and/or infringed The Dorland Letter. As part of your answer to this
interrogatory, state when and how each media outlet was contacted, including but not limited to
telephone calls, emails, text messages, Facebook, Twitter and social media messaging, and state
why you contacted each media outlet, identify with whom you communicated, and summarize
what you said in each communication.

RESPONSE TO INTERROGATORY NO. 16:

Ms. Dorland objects to Interrogatory No. 16 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
16 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds

that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 16

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exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

In June of 2018, I contacted the Boston Globe concerning Ms. Larson’s copying of my
letter, and during those contacts, the One City/One Story contest was discussed. In 2018, I also
contacted the podcast, “Dear Sugar,” via email, and the reporter Kat Rosenfield, through a direct
message on Twitter. These are the only communications I had with reporters or the media prior
to the commencement of litigation. Neither of these communications resulted in a response.

Interrogatory No. 17

Please state how and when you contacted or attempted to contact the BBF in 2018, with
respect to Larson, the One City/One Story competition, and/or your claim(s) that Larson was a
plagiarist and/or committed copyright infringement. As part of your answer to this interrogatory,
state who you contacted and summarize each communication in as much detail as possible.

RESPONSE TO INTERROGATORY NO. 17:

Interrogatory No. 17 is duplicative of Interrogatory No. 13. Ms. Dorland incorporates her
response to Interrogatory No. 13 herein, including all objections. Ms. Dorland will not respond
to Interrogatory 17, other than her response to Interrogatory No. 13.

Interrogatory No. 18

Other than ASF and the BBF, please identify all individuals or entities that you contacted
or attempted to contact with respect to Larson, the One City/One Story competition, and/or your
claim(s) that Larson was a plagiarist and/or committed copyright infringement. As part of your
answer to this interrogatory, state who you contacted and summarize each communication in as
much detail as possible.

RESPONSE TO INTERROGATORY NO. 18:

Ms. Dorland objects to Interrogatory No. 18 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.

18 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds

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that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 18
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

As reflected in the documents that I produced in connection with this matter, and as
further alleged in the operative complaint, in addition to the BBF and ASF, I contacted certain
persons at Middlebury College, the entity that promotes and facilitates the Bread Loaf Writer’s
Conference. See DORLAND00066. I also contacted GrubStreet, an entity with which I was
affiliated in 2018. See DORLAND00310, et seq. I also contacted former friends of mine,
Jennifer DeLeon and Adam Stumacher (who was also my writing instructor). See
DORLAND00396-7. Other communications are reflected in my document production at
DORLAND00389-395; DORLAND00398-402, without limitation. I further reached out via
telephone to people I knew at both the Bread Loaf Writer’s Conference and the MFA program I
attended concerning Larson’s 2017 Bread Loaf application. I also spoke with people I knew at
the Vermont Studio Center, where I had been a fellow, and with people at ALSCW, to inquire as
to whether my writing had been submitted by Larson to these entities in support of a fellowship
she was granted in 2017. As is reflected in the documents I produced, I also spoke with an
individual at Tin House, a writing workshop, about my concerns in a general manner and without
identifying Larson.

Interrogatory No. 19

With reference to an email you sent dated June 18, 2018, that was addressed to Jennifer
Grotz, the Director of the Bread Loaf Writers Conference, you wrote that "Other writing
conferences of similar repute have responded quite differently" to your accusation that Larson
plagiarized the Dorland Letter. Identify these "other writing conferences of similar repute," state
when and how did you contacted them, what did you communicated to them, and summarize
their responses using their exact words whenever possible.

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RESPONSE TO INTERROGATORY NO. 19:

Ms. Dorland objects to Interrogatory No. 19 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
19 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 19
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

I was referring to Tin House and VSC. I do not recall the exact phrases spoken or dates
of the calls.

Interrogatory No. 20

You wrote in a 2018 email to GrubStreet that two independent arts organizations had
"confirmed plagiarism" of Larson's story. Please identify the two organizations, state how, how
often and when you corresponded with them, and summarize their "confirmations" of plagiarism
using the exact text whenever possible.

RESPONSE TO INTERROGATORY NO. 20:

Ms. Dorland objects to Interrogatory No. 20 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
20 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 20
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

To my knowledge, I have never used the phrase “confirmed plagiarism” in an email to Grub

Street.

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Interrogatory No. 21

Please describe any personal information and/or personal details about Larson’s life,
Larson’s past and/or career paths and aspirations that Larson divulged to you in any of your
conversations with her from 2010 to 2018.

RESPONSE TO INTERROGATORY NO. 21:

Ms. Dorland objects to Interrogatory No. 21 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
21 in that it seeks information which is wholly irrelevant to the remaining claims and defenses in
this matter. Ms. Dorland further objects to Interrogatory No. 21 on the grounds that it is vague
and ambiguous. Ms. Dorland objects to Interrogatory No. 21 on the grounds that while it
purports to be a single interrogatory with no subparts, it is actually three interrogatories
contained under the header “Interrogatory No. 21”. Therefore, Interrogatory No. 21 exceeds the
number of interrogatories permitted by the Federal Rules of Civil Procedure. Based on the
foregoing objections, Ms. Dorland will not respond to Interrogatory No. 21.

Interrogatory No. 22

Please state the basis for your belief that Larson had an obligation of any kind to provide
any support to you after donating a kidney and/or to tell you that your kidney gift prompted her
imagination and/or that she had any obligation to tell you about the story she was writing that
included a character that donated a kidney

RESPONSE TO INTERROGATORY NO. 22:

Ms. Dorland objects to Interrogatory No. 22 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
22 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds

that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 22

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exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:
The statements contained in Interrogatory No. 22 do not accurately state my beliefs.

Interrogatory No. 23

Please explain and itemize in as much detail as possible the damages that you are
claiming from with respect to each version of The Kindest., including the ASF version, the
Brilliance version, the Audible version, the BBF version and the Welcome to the Neighborhood
version.

RESPONSE TO INTERROGATORY NO. 23:

Ms. Dorland objects to Interrogatory No. 23 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
23 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 23
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure.
Notwithstanding and without waiving the foregoing, Ms. Dorland responds as follows:

I cannot complete my damages calculations unless and until Ms. Larson completes her
document production. I will supplement my response to this interrogatory at the appropriate
time, upon receiving a complete production from Ms. Larson.

Interrogatory No. 24

Please explain in as much detail as possible how you believe Larson has profited from
each and every version of The Kindest that has been published to date, quantifying the amount of
profit you believe she has earned from each version of the Story. As part of your answer to this
Interrogatory, and with reference to Paragraph 143 of your Counterclaim, please state how you
believe Larson profited from selection of The Kindest by the BBF as its featured short story for
2018.

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RESPONSE TO INTERROGATORY NO. 24:

Ms. Dorland objects to Interrogatory No. 24 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
24 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds
that, in light of the several subparts contained in the above Interrogatories, Interrogatory No. 24
exceeds the number of interrogatories permitted by the Federal Rules of Civil Procedure. Ms.
Dorland further objects to Interrogatory No. 24 on the grounds that it seeks information protected
by the attorney-client privilege and/or work product doctrine. Ms. Dorland further objects to
Interrogatory No. 24 on the grounds that it seeks information which can only be gleaned from
Larson, and Larson has failed to comply with her discovery obligations and has yet to complete
her document production. In light of the foregoing, Ms. Dorland will not respond to
Interrogatory No. 24.

Interrogatory No. 25

Have you, or has anyone on your behalf, obtained from any person a report, statement,
memorandum, testimony, correspondence or document relating to the circumstances of the
allegations contained in the Plaintiffs Complaint and Amended Complaint. If so, identify,
describe and summarize said documents and state whether it/they was/were oral, written, signed
or unsigned, and state where each is located and who has custody, control or possession of same.

RESPONSE TO INTERROGATORY NO. 25:

Ms. Dorland objects to Interrogatory No. 25 on the grounds that it is overly broad, unduly
burdensome, and not reasonably calculated to lead to the discovery of admissible evidence, nor is
it proportionate to the needs of this litigation. Ms. Dorland further objects to Interrogatory No.
25 on the grounds that it is vague and ambiguous. Ms. Dorland further objects on the grounds

that, in light of the several subparts contained in the above Interrogatories, including

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Interrogatory No. 25, Interrogatory No. 25 exceeds the number of interrogatories permitted by

the Federal Rules of Civil Procedure. Ms. Dorland further objects to Interrogatory No. 25 on the

grounds that it seeks information protected by the attorney-client privilege and/or work product

doctrine. Notwithstanding and without waiving the foregoing objections, Ms. Dorland states that

she has not obtained any such statements.

I hereby certify that the statements contained herein are true to the best of my knowledge

as of today’s date.

Under the penalties of perjury,

Dawn Dorland Perry

Dated:

April 2, 2021

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As to Objections:

/s/ Suzanne M. Elovecky

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